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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DIS'I`RIC'I` OF FLORIDA

WEST PALM BEACH DIVISION

Case No. 01-9013-CIV-RYSKAMP/VITUNAC

 

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DELMA LUZ-CARRANZA, e_t gin `_c::-:r ;j
individually and on behalf of all g“' e,:
others similarly situated, ;_~; '.`._"
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V. 03 74 N

MECCA FARMS, INC., e_t a_l.,

Defendants.

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AMENDED PRE-TRIAL STIPULATION

By an order dated April l7, 2002 (Docket Entry 29), the Court directed that this cause
would be bifurcated, with the initial phase of the case being limited to whether Defendant Mecca
Farms, Inc. “employed” the Plaintiffs within the meaning of the Fair Labor Standards Act
(“FLSA”) and/or whether Defendant Mecca Farms, Inc., “employed” the Plaintiffs (and the
members of the putative class) within the meaning of the Migrant and Seasonal Agricultural
Worker Protection Act (“AWPA). The “employer status” issue is scheduled to be tried by the
Court during the two-week trial period commencing February 10, 2003. (Docket Entry 30). The
Parties previously filed separate pre-trial stipulations due to the inability of Mecca Farms, Inc. to
file its pre-trial stipulation by January 29, 2003. Pursuant to the Gmnibus Order dated February
3, 2003 (Docket Entry 116), Mecca Farms, Inc. was granted leave through February 3, 2003 in

which to file its pre-trial stipulation. In an effort to clarify which legal and factual issues the

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parties agree upon and which are at issue, the Parties have consolidated their repective pre-trial
stipulations into the Amended Pre-Trial Stipulation. The Parties hereby present their Amended
Pre-Trial Stipulation with respect to the “employer status” issue.

I. A Short Concise Statement of the Case by Each Party in the Action.

A. Plaintiffs:

The Plaintiffs contend that Defendant Mecca Farms, lnc. suffered or permitted the
Plaintiffs and the other members of the putative class to work on the firm’s operations during the
period encompassed by this litigation, and therefore “employed” these workers within the
meaning of the FLSA and the AWPA. The activities performed by the farmworkers were an
integral part of Mecca’s overall business. Mecca controlled the amount of work available to the
class members, directed the work assignments, directly and indirectly supervised the work and
exclusively had the power to make daily harvest decisions. Mecca had the power to modify the
employment conditions and to determine the pay rates of the farmworkers The duration and
unskilled nature of the work also indicates an employment relationship between Mecca and the
farmworkers. Mecca also undertook responsibilities ordinarily performed by employers

B. Defendant Mecca Farms, Inc.:

Defendant, Mecca Farms, Inc., contends that the Plaintiffs and other members of the
putative class were solely employed by Defendant, M. Sanchez & Son, Inc. and that Mecca
Farms, Inc. did not suffer or otherwise permit them to Work for Mecca Farms, lnc. as defined by
Federal law. Mecca Farms, Inc. contracted with M. Sanchez & Son, Inc., an independent
contractor and properly licensed Farm Labor Contractor, for services which it then performed
utilizing individuals employed solely by M. Sanchez & Son, Inc. Furthermore, the Plaintiffs and
other putative class members were not “economically dependent” on Mecca Farms, lnc. such

that Mecca Farms, lnc. “jointly employed” the Plaintiffs or putative class members Mecca

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Farms, lnc. did not have the ability, actual or implied, to control M. Sanchez & Son, Inc. or its
employees in the discharge of their contractual obligations Any communication between Mecca
Farms, lnc. and M. Sanchez & Son, lnc. was for the allowable purposes of a reasonable degree of
contract performance oversight, to ensure coordination with third parties, and/or in light of the
special considerations of agricultural employment.

C. Defendants M. Sanchez & Son, Inc., Maria T. Sanchez
and Rgg_erio T. Rodriguez:

M. Sanchez & Son, Inc., Maria T. Sanchez and Rogerio T. Rodriguez have no legal
position regarding the joint employer issues.
II. The Basis of Federal Jurisdiction.
The Court has jurisdiction pursuant to 29 U.S.C. § 1854(a) (AWPA) and 29 U.S.C.
§ 2l6(b) (FLSA).
lII. The Pleadings Raising the Issues.

This issue is raised in the Amended Complaint for Damages, Declaratory Relief,
Injunctive Relief, Costs of Litigation and Attorney’s Fee (Docket Entry 18) and Mecca Farms,
lnc.’s First Amended Answer and Affirmative Defenses to Plaintiffs’ Amended Complaint
(Docket Entry 55).

IV. A List of all Undisposed of Motions or Other
Matters Requiring Action by the Court.

Plaintiffs’ Motion for Class Certification (Docket Entry 38)
Defendant Mecca Farms’ Motion for Partial Summary Judgment (Docket Entry 61)
Plaintiffs’ Motion for Partial Summary Judgment (Docket Entry 62)

Defendant Mecca Farms’ Motion to Compel Plaintiffs to Respond to the First Set of
lnterrogatories to the Plaintiffs (Docket Entry 75)

Defendant Mecca Farms’ Motion to Strike Witnesses Not ldentified Prior to Close of
Discovery (Docket Entry 78)

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Plaintiffs’ Motion to Renew Motions Adjudicated as Moot by Omnibus Order of
December 31, 2002

V. A Concise Statement of Uncontested Facts Which Will
Reguire No Proof at Trial. With Rescrvations., If Anv.

l. Mecca Farms, Inc. is an agricultural grower based in Lantana, Flon`da that plants,
cultivates, and harvests vegetables for commercial sale.

2. During the years covered by this litigation,l Mecca Farms, Inc. contracted with
eight farm labor contractors

3. During the years covered by this litigation, M. Sanchez & Son, Inc. was a farm
labor contractor hired by Mecca Farms, Inc. to plant, cultivate and/or harvest its vegetables

4. The Plaintiffs were farmworkers employed as members of M. Sanchez’ crews to
plant, cultivate, and/or harvest vegetables

5. During the years covered by this litigation, Mecca Farms, Inc. leased the Stuart
and Anderson farms

6. During the years covered by this litigation, M. Sanchez & Son, Inc. crews have
worked on Mecca Farms, lnc.’s operations at the Stuart and Anderson farms

7. Since 1995, Mecca Farms, Inc. employed Michael Macari as an assistant farm
manager to manage the day to day operations on the Stuart and Anderson farms

8. Maria Sanchez founded l\/l. Sanchez & Son, Inc. in 1993 and was the president
and sole officer of the company.

9. Roy Rodriguez was a supervisor and oversaw the field operations for M. Sanchez
& Son, Inc.

10. Gustavo Castillo was a M. Sanchez & Son, Inc. field supervisor. Gustavo Castillo
supervised the M. Sanchez & Son, lnc. crews at the Stuart and Anderson farms

ll. Jorge Flores was a M. Sanchez & Son, Inc. employee who drove workers to the
Mecca Farms, lnc. job site on the M. Sanchez & Son company bus Jorge Flores was responsible
for overseeing the crew he brought on the bus

12. During the years covered by this litigation, Mecca Farms, lnc. planted twice as
many tomatoes as any other vegetable crop.

 

l The years in question are in dispute and the issue is the subject of Mecca Farms, lnc.’s
Motion for Partial Summary Judgment.

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l3. There are two vegetable harvests a season on Mecca Farms, lnc.’s operations The
first harvest typically runs from November to January, and the second from March to May.

14. Mecca Farms, lnc. informed M. Sanchez & Son, lnc. when Mecca Farms, lnc.’s
crops were ready to be picked/planted and when there were no longer any crops to be
picked/planted

15. Mecca Farms, lnc.’s tomatoes were grown on stakes. Workers picked the
tomatoes of a specified size and ripeness and placed them in a bucket. When the bucket was full,
the worker carried it to a flatbed truck in the field.

16. Each flat bed truck had one or two M. Sanchez & Son, lnc. workers, known as
“dumpers,” who dumped the tomatoes in the buckets into the bins on the truck. When the bins
on the flat bed truck were full, they were driven to the parking area at the edge of the field where
they Were loaded by fork lifts on to tractor trailers and taken to the Mecca Farms, lnc. packing
house. Mecca Farms, Inc. provided M. Sanchez & Son, lnc. with the bins

l7. M. Sanchez & Son, lnc. workers received one token for each valid and correct
bucket they picked. The persons who gave the pickers the tokens were called “tiqueteros” or
tokeners.

18. For picking tomatoes, Mecca Farms, Inc. paid M. Sanchez & Son, Inc. based on
the volume of tomatoes harvested by the M. Sanchez & Son, Inc. workers

19. For picking tomatoes, M. Sanchez & Son, Inc. workers were paid on a piece-rate
basis according to the number of valid and correct buckets they turned in.

20. M. Sanchez & Son, lnc. provided the workers with the picking buckets

2l. M. Sanchez & Son, Inc. owned the flatbed trucks and M. Sanchez & Son, Inc.
employees drove them.

22. Tomatoes were not picked when they were wet because they would bruise easily
and often became stained or rotten. Tomatoes could be wet in the morning from rain or dew.

23. Mecca Farms, Inc. informed M. Sanchez & Son, Inc. which fields needed to be
picked/planted
24. There were times during the season when Mecca Farms, Inc. told M. Sanchez &

Son, Inc. not to pick for a period of time.

25. On the days that M. Sanchez & Son, Inc. picked as many tomatoes as possible,
the workday ended later than usual.

26. In general, Mecca Farms, Inc. received higher prices for First Grade tomatoes
than Second Grade tomatoes The appearance of the tomato, such as defects and color, are
factors in determining a tomato’s grade. An “unclean” tomato is a tomato that was picked With
its stems and leaves Mecca Farms, lnc. does not want tomatoes with stems and leaves left on

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them because the stems and leaves stain the tomatoes Mecca receives lowered prices for
disfigured tomatoes, such as one that had been stained form the stems and leaves If a tomato is
picked while too green, it does not mature (“color up”) properly.

27. On occasion, when poor quality produce arrived at the packing house from the
Stuart and Anderson farms, Mecca Farms, Inc. informed M. Sanchez & Son, lnc. Mecca Farms,
Inc. informed M. Sanchez & Son, Inc. of such an occurrence on less than half of the occasions
that it noted poor quality produce arriving at the packing house from the Stuart and Anderson
farms

28. lntentionally omitted.

29. On occasion, Mecca Farms, lnc. informed M. Sanchez & Son, Inc. that under-
sized tomatoes were arriving at the packing house or were being placed in the bins

30. On occasion, Mike Macari informed M. Sanchez & Son, Inc. that if it was not
careful in handling the tomato plants the plants could be broken or damaged On those occasions
when Mike Macari observed M. Sanchez & Son, Inc. workers not being careful with the plants,
he asked that M. Sanchez & Son, lnc. check on the situation.

31. On occasion, Mike Macari informed M. Sanchez & Son, Inc. that the stems on the
tomatoes were to be removed as part of the picking process

32. lntentionally omitted.
3 3. lntentionally omitted.

34. After Mike Macari informed Gustavo Castillo that too much “garbage” was being
placed in the buckets and/or bins, Gustavo Castillo has told the workers that there was too much
“garbage” going inside the buckets or bins

35. Depending on the task in laying plastic, the M. Sanchez & Son, lnc. employees
were compensated by piece-rate or by the hour. Planting, staking, pruning were “hourly” tasks,
for which workers were paid by the hour. Pulling the plastics and stakes was also “hourly”
work.

36. lntentionally omitted.

37. At the beginning of the season, plastic is laid over the tomato beds. The plastic
aids in keeping the fumigant in the ground, controlling the weeds, and preventing disease which
can be caused by dirt splashing up onto the tomato plants when there is lots of rain.

38. Mecca Farms, lnc. owned the machines used for laying the plastic. Mecca Farms,
lnc. provided the plastic.

39. Mecca Farms, lnc. informed M. Sanchez & Son, lnc. each day what fields were
ready to have plastic laid.

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40. On those occasions when Mecca Farms, Inc. personnel were in fields where M.
Sanchez & Son, lnc. had recently completed laying plastic, Mecca Farms, Inc. checked to ensure
that the plastic was being laid correctly and that M. Sanchez & Son, lnc. was doing its job

properly.

41. In planting tomatoes, peppers and eggplant, M. Sanchez & Son, lnc. employees
rode the “planting” machine and placed plants in the holes made by the “planting” machine.
Other M. Sanchez & Son, lnc. employees walked behind the “planting” machine and made sure
that the plants were correctly in the hole and packed the plants into the ground.

42. Mecca Farms, lnc. delivered the amount of plants needed to plant each day to the
planting site. The plants arrived in boxes

43. Mecca Farms, Inc. owned the forklifts used to move the planting boxes

44. Mecca Farms, lnc. owned the planting machines Mecca Farms, lnc. employees
repaired the planting machines when necessary.

45. Planting machine drivers were usually M. Sanchez & Son, Inc. employees When
M. Sanchez & Son, Inc. did not have enough planting machine drivers, Mecca Farms, Inc.
supplied a Mecca Farms, Inc. employee to serve as a driver.

46. Mike Macari decided how many “planting” machines would be used for planting
each day.

47. lntentionally omitted.

48. On those occasions when Mike Macari had an opportunity to review the planting
work in fields under his responsibility, Mr. Macari checked to make sure the rows were straight
and that every hole had a plant.

49. Staking is the process of placing stakes into the ground.
50. lntentionally omitted.

51. Mecca Farms, Inc. supplied the stakes

52. lntentionally omitted.

53. Mike Macari checked to make sure that M. Sanchez & Son, Inc. was performing
staking tasks properly on those occasions when he had an opportunity to review staking work.
Sometimes when a stake was not standing straight or was broken, Mike Macari spoke to an M.
Sanchez & Son, Inc. supervisor. After Mike Macari spoke to the supervisors about stakes not
standing straight or being broken, the M. Sanchez & Son, Inc. Supervisors told the workers to
correct the work.

54. On those occasions that Mike Macari had an opportunity to review staking work,
he checked the staking work to make sure that the stakes were placed in the ground straight and

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at the correct height. Gustavo Castillo consulted with Mike Macari if the stakes were placed
wrong to determine if Mecca Farms, lnc. wanted M. Sanchez & Son, lnc to correct the stakes or
leave them as is

55. To prevent the tomato plant from falling down as it grew, the plants were tied to
the stakes with string. Each plant was usually tied three times

56. Mecca Farms, lnc. provided the string that M. Sanchez & Son, Inc. workers used
for tying the plants

57. Mecca Farms, lnc. paid M. Sanchez & Son, lnc. on a piece-rate (per linear feet)
basis for the tying work.

5 8. lntentionally omitted.

59. Mecca Farms, lnc. informed M. Sanchez & Son, lnc. each day Which fields were
ready to be tied.
60. On those occasions where Mike Macari had an opportunity to review the tying

work, he would check that the string was tight enough to hold up the plant as well as other
things If the string had not been tied properly, Mike Macari informed M. Sanchez & Son, lnc.
of the problem. After Mr. Macari informed M. Sanchez & Son, Inc. of problems with the tying
work, M. Sanchez & Son, lnc. typically informed its crews of how to tie the plants properly.

61 . lntentionally omitted.
62. lntentionally omitted.

63. Pruning is the process of removing the excess foliage from the plants Pruning
and suckering describe the same activity.

64. Pruned plants ordinarily yielded bigger tomatoes
65. lntentionally omitted.

66. On occasion, Mike Macari checked that M. Sanchez & Son, lnc. was doing the
pruning work well.

67. If workers stepped on the plastic it could be stretched or holes or indentations
could be made. Holes in the plastic covering the beds could cause the fertilizer to leach out. On
occasion, Mike Macari informed M. Sanchez & Son, Inc. that its workers had made holes or
indentations on the plastic. After informing M. Sanchez & Son, lnc. about the holes or
indentations in the plastic, Mike Macari expected M. Sanchez & Son, Inc. to correct the problem.
Such a discussion occurs less than once or twice a year. Mike Macari has told M. Sanchez &
Son, Inc. that its workers should not step on the plastic.

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68. After Mike Macari has informed M. Sanchez & Son, lnc. that he has observed
improper pruning work, M Sanchez & Son, Inc. supervisors have gone to individual workers to
make sure they know how to do it correctly.

69. lntentionally omitted.

70. After the harvest, the string is cut, the stakes are collected, and the plastic and
plants are removed from the ground and later burned.

71 . lntentionally omitted.

72. Depending on the task, M. Sanchez & Son, lnc. employees were paid by the hour
or on a piece-rate basis

73. A Contractor Field Invoice form was used by M. Sanchez & Son, lnc. to record
data during the hourly work. These Contractor Field lnvoices were used by Mecca Farms, Inc.
to calculate the amount owed to M. Sanchez & Son, lnc. for “hourly” work pursuant to their
contract.

74. Mecca Farms, lnc. provided the Contractor Field Invoices to M. Sanchez & Son,
lnc. M. Sanchez & Son, Inc. supervisors filled out the Contractor Field Invoices M. Sanchez &
Son, lnc. handed in the completed Contractor Field lnvoices to Mike Macari every day for work
compensated on an hourly basis Mike Macari approved the Contractor Field Invoice by signing
it every day for the work compensated on an hourly basis When Mike Macari approved and
signed off on the Contractor Field Invoices for the hourly work, he also verified the workers’
starting time but only on the occasions that he actually witnessed the crew starting.

75. lntentionally omitted.

76. M. Sanchez & Son, lnc. used the 3-Three Row Plastic Laying Form to determine
how much to pay each hourly employee. Mike Macari reviewed and signed the 3-Row Plastic
Laying Form.

77. lntentionally omitted.
7 8. lntentionally omitted.

79. Before January 2000, Mecca Farms, lnc. paid the employer’s share of the social
security (FICA) taxes on “hourly” work to M. Sanchez & Son, lnc. by issuing a check payable to
its bank.

80. lntentionally omitted.

81. After learning that M. Sanchez & Son, lnc. paid its workers in cash instead of
with a check, Mecca Farms, Inc. told it to discontinue the practice. M. Sanchez & Son, Inc.
discontinued its practice of paying the workers in cash after Mecca Farms, lnc. told it to cease
the practice.

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82. Mecca Farms, Inc. issued M. Sanchez & Son, lnc. a memo telling it to be sure that
its workers received the federally required pesticide safety training.

83. Mecca Farms, lnc. was an additional insured party on M. Sanchez & Son, lnc.’s
worker’s compensation, general liability, and automobile insurance policies

84. After the bins were transported to Mecca Farms, lnc.’s packing house, the
produce was sorted and packaged for sale. Within a short time after being packed, the produce is
delivered to an independent third party shipper for delivery to the purchaser.

85 . lntentionally omitted.

VI. A Statement in Reasonable Detail of Issues of
F act Which Remain to be Litigated At Trial.

l. Whether Mecca Farms, lnc. instructed or directed M. Sanchez & Son, lnc. as to
the number of workers it should furnish each day.

2. Whether Mecca Farms, Inc. determined the wage rates to be paid employees of
M. Sanchez & Son, Inc. for work performed on an hourly basis

3. Whether Mecca Farms, lnc. had the power to determine the starting time of
employees of M. Sanchez & Son, lnc. for work performed on the operations of Mecca Farms,
Inc.

4. Whether Mecca Farms, lnc. had the power to determine the number of workers

M. Sanchez & Son, Inc. furnished for certain activities

5. Whether Mecca Farms, lnc. had the right or power to supervise the work of
M. Sanchez & Son, Inc. employees

6. Whether Mecca Farms, Inc. supervised, directly or indirectly, the work of
M. Sanchez & Son, Inc. employees

7. Whether Mecca Farms, lnc. had the power to assign M. Sanchez & Son, Inc.
employees to certain tasks

8. Whether Mecca Farms, lnc. had the power to determine the stopping time of the
M. Sanchez & Son, Inc. labor crew.

9. Whether Mecca Farms, lnc. had the power to direct M. Sanchez & Son, lnc. as to
the means by which it should transport its employees to Mecca Farms, Inc. ’s jobsite.

10. Whether Mecca Farms, lnc. had the power to direct, either directly or through a
M. Sanchez & Son, lnc. supervisor, how M. Sanchez & Son, lnc. employees performed their job.

ll. Whether Mecca Farms, Inc. had the power to determine whether M. Sanchez &
Son, lnc. re-staked a field.

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12. Whether Mecca Farms, lnc. determined the location where M. Sanchez & Son,
Inc. employees were assigned each day.

13. Whether Mecca Farms, lnc. had the power to adjust or alter the wage scales paid
by M. Sanchez & Son, lnc. to its employees for work performed on an hourly basis

14. Whether Mecca Farms, lnc. provided field toilets, water jugs, picking tokens,
buckets and other items to employees of M. Sanchez & Son, Inc.

l5. Whether M. Sanchez & Son, lnc. worked exclusively for Mecca Farms, Inc.
during the years covered by this litigation.

l6. Whether the work performed by the M. Sanchez & Son, lnc. employees was
unskilled and rote in nature.

l7. Whether the activities performed by M. Sanchez & Son, lnc. employees were an
integral part of the overall business of Mecca Farms, Inc.

18. Whether the Plaintiffs were “economically dependent” on M. Sanchez & Son, Inc.
l9. Whether the Plaintiffs were “economically dependent” on Mecca Farms, Inc.

20. Whether the communications between Mecca Farms, lnc. and M. Sanchez & Son,
lnc. were for the purpose of a reasonable degree of contract performance oversight.

21. Whether the communications between Mecca Farms, Inc. and M. Sanchez & Son,
Inc. were for the purpose of ensuring coordination with third parties

22. Whether the communications between Mecca Farms, Inc. and M. Sanchez & Son,
lnc. occurred due to the special considerations of agricultural employment.

VII. A Concise Statement of Issues of Law on Which There is lAm‘eement.
Mecca Farms, lnc. is subject to the Fair Labor Standards Act.
VIII. A Concise Statement of Issues of Law Which Remain for Determination bv the Court.

Whether Mecca Farms, Inc. “employed” the Plaintiffs and the other members of the M. Sanchez
& Son, lnc. crew while they worked on the operations of Mecca Farms, Inc.

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IX. Each Party’s Numbered List of Trial Exhibits, other than Impeachment
Exhibits, Including the Basis of all Obiections to Each Document.

A. Plaintiffs’ Trial Exhibit List

 

See Exhibit “A,” attached hereto, for Mecca Farms, lnc.’s objections to Plaintiffs’ Trial
Exhibit List.

B. Mecca Farms, lnc.’s Trial Exhibit List

l. Contract between Mecca Farms, lnc. and M. Sanchez & Son, lnc. dated July 24,
1997. (Subject to Mecca Farms, lnc.’s argument on the statute of limitations and corresponding
relevance and materiality objections.)

2. Contract between Mecca Farms, Inc. and M. Sanchez & Son, lnc. dated August 5,
1998. (Subject to Mecca Farms, lnc.’s argument on the statute of limitations and corresponding
relevance and materiality objections.)

3. Contract between Mecca Farms, Inc. and M. Sanchez & Son, lnc. dated
January 14, 2000.

4. Contract between Mecca Farms, lnc. and M. Sanchez & Son, lnc. dated July 31,
2000.

5. Contract between Mecca Farms, Inc. and M. Sanchez & Son, Inc. dated July 31,
2001.

6. Transcript of deposition of Jose Gustavo Castillo, August 2, 2002.

7. Transcript of deposition of Jorge Flores, August 5 , 2002.

8. Transcript of deposition of Rafael Gonzalez-Vasquez, September 22, 2002.

9. Transcript of deposition of David Matias, February 4, 2002.

10. Transcript of deposition of Virginia Perez-Abad, July 30, 2002.

l l. Transcript of deposition of Adolfo Perez, July l9, 2002.

12. Transcript of deposition of Delma Luz Carranza, July 23, 2002.

l3. Transcript of deposition of Francilia Hernandez Perez, August l, 2002.

l4. Transcript of deposition of Rogerio “Roy" Rodriguez, August 7, 2002.

15 . Transcript of deposition of Maria T. Sanchez, June l l, 2002 and June 20, 2002.

16. Transcript of deposition of Carlos Rodri go Ramos-Perez, October 4, 2002.

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l6. Transcript of deposition of Gloria Roblero Perez, July 26, 2002.

C. Trial Exhibit List for M. Sanchez & Son, Inc., Maria T. Sanchez
and Rogerio T. Rodriguez

M. Sanchez & Son, Inc., Maria T. Sanchez and Rogerio T. Rodriguez have no trial

exhibits to be listed other than those identified by the other parties

X. Each Party’s Numbered List of Trial Witnesses, With Their Addresses, Separately
Identifying Those Whom the Party Expects to Present and Those Whom the
Party May Call if the Need Arises. Witnesses Whose Testimony is Expected to be
Offered by Means of a Deposition shall be so Designated. Impeachment
Witnesses Need Not Be Listed. Expert Witnesses Shall be so Designated.

A. Plaintiffs’ Witnesses

l. Witnesses expected to be called

a)

b)

d)

g)

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Jose Gustavo Castillo
Post Office Box 1694
lndiantown, Florida 34956\

Jorge Flores
17564 Lincoln Street
lndiantown, Florida 34956

Rafael Gonzalez-Vasquez (testimony to be offered through deposition)
Aldea Las Majadas

Tacana, San Marcos

Guatemala

Eila Granfors
2856 S. Garden Drive
Lake Worth, Florida 33461

Francilia Hernandez Perez
14753-169"‘ Avenue
Indiantown, Florida 34956

Delma Luz Carranza
Post Office Box 556
Indiantown, Florida 34956

Michael Daniel Macari

708 Noi'th River Drive
Stuart, Florida 34995

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h) David Matias (testimony to be offered through deposition)
Aldea Canival
Quilco, Guatemala

i) Adolfo Perez
14906 Indianmound Street
Indiantown, Florida 34956

j) Virginia Perez-Abad
14507 Tumani, Box #l 8
Indiantown, Florida 34957

k) Gloria Roblero-Perez (testimony to be offered through deposition)
Villa Nueva
Tacana, San Marcos
Guatemala

l) Carlos Rodrigo Ramos-Perez (testimony to be offered through deposition)
4826 N. Springfield
Chicago, Illinois 60625

m) Rogerio “Roy” Rodriguez
9276 Lakeside Lane
Boynton Beach, Florida 33437

n) Maria T. Sanchez
9276 Lakeside Lane
Boynton Beach, Florida 33437

o) Mark Sander Shaw
c/o Mecca Farms, lnc.
7965 Lantana Road
Lake Worth, Florida 33467

p) Thomas James Mecca
c/o Mecca Farms, lnc.
7965 Lantana Road
Lake Worth, Florida 33467

q) Lori Mecca Schwab

4582 Hunting Trail
Lake Worth, Florida 33467

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r) Gary Smigiel
1020 S. Lakeside Drive
Lake Worth, Florida

B. Mecca Farmsl lnc.’s Witnesses
1. Witnesses Mecca Farmg Inc. Expects to Call:

a) Tommy Mecca
Mecca Farms, lnc.
7965 Lantana Road
Lake Worth, Florida 33467

b) Gary Smigiel
Mecca Farms, Inc.
7965 Lantana Road
Lake Worth, Florida 33467

c) Lori Schwab
Mecca Farms, Inc.
7965 Lantana Road
Lake Worth, Florida 33467

d) Mark Shaw
Mecca Farms, Inc.
7965 Lantana Road
Lake Worth, Florida 33467

e) Michael Macari
Mecca Farms, Inc.
7965 Lantana Road
Lake Worth, Florida 33467

f) Rafael Gonzalez-Vasquez (testimony to be offered through deposition)
Aldea Las Majadas
Tacana, San Marcos
Guatemala

g) Francilia Hemandez Perez
14753-169th Avenue
lndiantown, Florida 34956

h) Delma Luz Carranza

Post Office Box 556
Indiantown, Florida 34956

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i) David Matias (testimony to be offered through deposition)
Aldea Canival
Quilco, Guatemala

j) Adolfo Perez
14906 Indianmound Street
Indiantown, Florida 34956

k) Virginia Perez-Abad
14507 Tumani, Box #18
lndiantown, Florida 34957

l) Glon`a Roblero-Perez (testimony to be offered through deposition)
Villa Nueva
Tacana, San Marcos
Guatemala

m) Carlos Rodrigo Ramos-Perez (testimony to be offered through deposition)
4826 N. Springfield
Chicago, Illinois 60625

n) Rogerio “Roy” Rodriguez
9276 Lakeside Lane
Boynton Beach, Florida 33437

2. Witnesses Mecca Farms, Inc. May Call:

a) Mark Mecca
Mecca Farms, Inc.
7965 Lantana Road
Lake Worth, Florida 33467

b) Joseph Schwab
Mecca Farms, Inc.
7965 Lantana Road
Lake Worth, Florida 33467

c) Eric Schwab
Mecca Farms, lnc.
7965 Lantana Road
Lake Worth, Florida 33467

d) Jose Gustavo Castillo
Post Office Box 1694
lndiantown, Florida 34956

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e)

Jorge Flores
17564 Lincoln Street

lndiantown, Florida 34956

Maria T. Sanchez
9276 Lakeside Lane

Boynton Beach, Florida 33437

C. Witnesses for M. Sanchez & Son, Inc., Maria T. Sanchez

and Rogerio T. Rodriguez

M. Sanchez & Son, Inc., Maria T. Sanchez and Rogerio T. Rodriguez have no witnesses

to be named other than those identified by the other parties

XI. Estimated Trial Time.

Three to four days

XII. Where Attorney’s Fees May Be Awarded to the Prevailing Party, an
Estimate of Each Party as to the Maximum Amount Properly Allowable.

Because this cause has been bifurcated, no attomey’s fees will be sought by the Plaintiffs

until the entire case has been tried. If they prevail, the Plaintiffs will seek fees under the Fair

Labor Standards Act, 29 U.S.C. § 216(b), and Florida Statutes § 448.08.

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Florida Bar Number 287199
Cathleen D. Caron

Florida Bar Number 0468266
Migrant Farmworker Justice Project
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Lake Worth, FL 33460

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E-mail: cathleen@flroidalegal.org

Attorneys for Plaintiffs

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Henry S. Wulf, Esq.
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e-maz`l.' hwulf@car[tonfields. com

Attomeys for Mecca Farms, lnc.

/%//W

Don R. Boswell

Florida Bar Number 145894

Akers & Boswell, P.A.

2875 South Ocean Boulevard, Suite 200
Palm Beach, FL 33480

Telephone: (561) 547-6300

Facsimile: (561) 547-3955

Attomey for Defendants M. Sanchez & Son,
Inc., Maria T. Sanchez, and Rogerio T.
Rodriguez

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CERTlFICATE OF SERVICE

WE HEREBY CERTIFY that a true and correct copy of the Pre-Trial Stipulation of

Defendant, Mecca Farms, lnc. was served via facsimile and U.S. Mail this Q/ SF

day of
February, 2003 to Cathleen D. Caron, Esq., counsel for Plaintiffs, Migrant Farmworkers Justice
Project, 508 Lucerne Avenue, Lake Worth, Florida 33460; and by U.S. Mail only to Don R.
Boswell, Esq., Counsel for Co-Defendants_, Akers & Boswell, P.A., 2875 South Ocean

Boulevard, Suite 200, Palm Beach, Florida 33480.

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EXHIBIT “A”

DEFENDANT, MECCA FARMS, INC.’S
OBJECTIONS TO PLAN'I`IFFS’ TRIAL EXHIBIT_S

Key to objections: (N) No objections

(R) Relevancy
(M) Materiality
(A) Authenticity
(H) Hearsay

(UP) Unduly prejudicial/probative value outweighed by undue prejudice

(P) Privileged

(F) Form objections
(C) Capacity

(A) All objections

 

 

NO. EXHIBIT OBJECTION

l. Contract between Mecca Farms, lnc. and M. Sanchez & Son, lnc., R M
dated July 1, 1996

2. Contract between Mecca Farms, lnc. and M. Sanchez & Son, lnc., R M
dated July 24, 1997

3. Contract between Mecca Farms Inc. and M. Sanchez & Son, lnc., R M
dated August 5, 1998

4. Contract between Mecca Farms, lnc. and M. Sanchez & Son, lnc., N
dated July 31, 2001

5. Mecca Farms, lnc. ledger of payments to M. Sanchez & Son, Inc., R M A UP
including amounts due for unemployment compensation and
worker’s compensation premiums

6. Payment records relating to M. Sanchez & Son, Inc., including R M
contractor field invoices and 3-Row Plastic Laying Forms (Mecca
Bates stamp numbers 11697-11723)

7. Bill from Mecca Farms, Inc. to M. Sanchez & Son, Inc. for purchase R M
of picking tokens (Mecca Bates number 08542)

8. Memorandum from Mark Shaw to Lori Schwab re purchase of R M
machetes for M. Sanchez & Son, lnc., dated December 1, 1997
(Mecca Bates number 05837)

9. Promissory note from Maria Sanchez to Mecca Farms, lnc., dated R M

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NO. EXHIBIT OBJECTION
August 8, 1997 (Mecca Bates number 04768)

 

10. Promissory note from Maria Sanchez to Mecca Farms, lnc. dated R M
September 5, 1997 (Mecca Bates number 04769)

11. Mecca F arms Inc. check 016981 to Roy Rodriguez, dated R M
November 4, 1998, with accompanying notes
(Mecca Bates number 09640)

12. Mecca Farms, Inc. Ledger reflecting loans to and payments from R M
M. Sanchez & Son, lnc. (Mecca Bates numbers 04766 and 04767)

13. Accounting sheet reflecting Nextel bills chargeable to M. Sanchez & R M
Son, Inc. (Mecca Bates number 09541)

l4. Invoice from Smitty’s Alternator Repair Inc., dated October 22, R M
1998, with accompanying notations (Mecca Bates number 09543)

15. Invoice from Country Auto Parts to Mecca Farms, Inc., dated R M
October 28, 1998, with accompanying notations
(Mecca Bates number 09587)

l6. Invoice from Windmill Sprinkler & Hardware to Mecca Farms, R M
dated October 12, 1998, with accompanying notations
(Mecca Bates number 09591)

17. Invoice from Windmill Sprinkler & Hardware to Mecca Farms, R M
dated October 30, 1999, with accompanying notations
(Mecca Bates number 11701)

18. lnvoices from Auto Supply of Stuart, lnc. to Mecca Farms, Inc., R M
dated September 2 and September 4, 1997, with accompanying
notations (Mecca Bates number 06145)

19. Invoice to Mecca Farms, lnc. from Marc Industries, dated R M
November 3, 1999, with accompanying notations
(Mecca Bates number 11700)

20. Invoice to Mecca Farms, lnc. from lndustrial Supplies Company for R M
six 10-gallon coolers, dated January 30, 1997, with accompanying
notations (Mecca Bates number 02908)

21. Invoice to Mecca Farms, Inc. from A-l Little John, dated R M
January 31, 1997 , with accompanying notations
(Mecca Bates number 02913)

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NO. EXHIBIT OBJECTION

22. lnvoices to Mecca Farrns from lntergro, lnc. for picking buckets, R M
dated December 26, 1996, with accompanying notations
(Mecca Rates numbers 03081 and 03082)

23. Contractor Field Invoice from M. Sanchez & Son, lnc., January 4, R M A
2000

24. Contractor Field Invoice from M. Sanchez & Son, Inc., January 4, R M
2000, with computations and notations by Mecca Farms, Inc.
clerical staff (Mecca Bates number 11645)

25. Contractor Field Invoice from M. Sanchez & Son, lnc., R M A
October 2, 1997

26. Contractor Field lnvoice from M. Sanchez & Son lnc., R M
November 6, 1998 (Mecca Bates number 09607)

27. Contractor Field lnvoice from M. Sanchez & Son, Inc., R M
November 3, 1999 (Mecca Bates number 11914)

28, Contractor Field Invoice from M. Sanchez & Son, lnc., R M
November 4, 1999 (Mecca Bates number 11913)

29. Contractor Field lnvoice from M. Sanchez & Son, Inc., R M
November 4, 2000 (Mecca Bates number 1065 8)

30. Contractor Field lnvoice from M. Sanchez & Son, lnc., January 16, R M
2001 (Mecca Bates number 14308)

31. Contractor Field Invoice from M. Sanchez &Son, Inc., R M
February 9, 2001 (Mecca Bates number 14133)

32. Summary sheet for tying work, January 17, 1997 R M
(Mecca Bates number 03041)

33. Time cards for Enrique Cavazos and Jesus Cavazos, R M
October 7, 1997 (Mecca Bates number 06154)

34. Ledger sheet showing “savings” for M. Sanchez & Son lnc. R M
(Mecca Bates number 17933)

35. Memorandum from Mark Shaw to Crewleaders/F arm Managers, R M A UP

dated January 26, 1999

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NO. EXHIBIT OBJECTION

36. Memorandum from Mark Shaw to Crewleaders regarding WPS R M A UP
Training: Worker Protection Standards, dated July 17, 2000

37. Fax transmittal to Maria Sanchez from Mark Shaw dated April 4, R M A UP
2002, with attached notes labeled “4/3/02 Stuart Van lnspection”

38. Memorandum from Gary Smigiel to All Crewleaders regarding R M A UP
“Regulations,” dated May 17, 2002

39. Form 1099-MISC for 2000 issued to M. Sanchez & Son, lnc. by R M A
Mecca Farms, lnc.

40. M. Sanchez & Son, lnc. vehicle insurance policy from 1997-98 R M A UP
season, listing Mecca Farms, Inc. as a certificate holder

41. Transcript of deposition of Jose Gustavo Castillo August 2, 2002 R M F C

42. Transcript of deposition of Jorge Flores, August 5, 2002 R M F C

43. Transcript of deposition of Raf`ael Gonzalez-Vasquez, R M F C
September 22, 2002

44. Transcript of deposition of Eila Granfors, August 12, 2002 R M F

45. Transcript of deposition of David Matias, February 4, 2002 R M F C

46. Transcript of deposition of Michael D. Macari, August 14, 2002 R M F

47. Transcript of deposition of Virginia Perez-Abad, July 30, 2002 R M F C

48. Transcript of deposition of Carlos Rodri go Ramos-Perez, October 4, R M F C
2002

49. Transcript of deposition of Gloria Roblero Perez, July 26, 2002 R M F C

50. Transcript of deposition of Mark Shaw, August 14, 2002 R M F

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